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                                                                             5/22/20 1:29 pm
                                                                             CLERK
                                              TABLE 1                        U.S. BANKRUPTCY
                                                                             COURT - WDPA
                                        Out-of-State Plaintiffs


       Plaintiff                           Complaint Residence Seller(s)
       Cindrich, Ronald                    ¶ 7(11)        FL      Matthew Maguire
       Clariot New Albany                  ¶ 7(12)        OH      Matthew Maguire
       Cowen OJ Investment, LLC            ¶ 7(16)        NY      Matthew Maguire
       DelMetro, Inc.                      ¶ 7(17)        NC      Matthew Maguire
       Einhorn, Stephen                    ¶ 7(20)        WI      Matthew Maguire
       The Harding-Brown         Family ¶ 7(23)           CA      Matthew Maguire
       Trust
       Hoeksema, Timothy                   ¶ 7(24)        FL      Matthew Maguire
       Joerres, Jeffrey                    ¶ 7(26)        WI      Matthew Maguire
       Kuester, Dennis J.                  ¶ 7(31)        FL      Matthew Maguire
       Nahra, M.D., Mitchell Elias         ¶ 7(37)        OH      Matthew Maguire
       Nasgovitz, William                  ¶ 7(38)        WI      Matthew Maguire
       Orttech Ltd.                        ¶ 7(40)        OH      Melvin Pirchesky,
                                                                  Matthew Maguire
       Triad Investments, Inc.             ¶ 7(52)        OH      Melvin Pirchesky,
                                                                  Matthew Maguire
       The Christian Luke        Ronald ¶ 7(53)           OH      Matthew Maguire,
       Vadas 2016 Trust
                                                                  Robert Lewis
       The Simon Isaac Young Vadas ¶ 7(54)                OH      Matthew Maguire,
       2016 Trust
                                                                  Robert Lewis
       Whitaker, Jerry R.                  ¶ 7(56)        SC      Matthew Maguire
       White, Michael H.                   ¶ 7(57)        WI      Matthew Maguire
       The Gregory S. Zenczak Family ¶ 7(58)              OH      Melvin Pirchesky,
       Dynasty Trust
                                                                  Matthew Maguire
       The Stephen J. Zenczak Family ¶ 7(59)              OH      Melvin Pirchesky,
       Dynasty Trust
                                                                  Matthew Maguire




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                                              TABLE 2
                                           Broker Plaintiffs


      Plaintiffs Who Purchased Securities From Pirchesky:

       Plaintiff                            Complaint
       Woody Partners                       ¶ 7(1)
       Aloe Brothers, LLC                   ¶ 7(2)
       Altomari, Kevin                      ¶ 7(4)
       Auray, Robert and Marion             ¶ 7(5)
       Blair Oak Investments, LP            ¶ 7(10)
       Connors,    Eugene      and   Tina ¶ 7(13)
       Houmis
       Constantakis, Andrew                 ¶ 7(14)
       Constantakis,      Nicholas    and ¶ 7(15)
       Veronica
       Flighthawk, LLC                      ¶ 7(21)
       George, John A. and Carolyn D.       ¶ 7(22)
       Hunt, William E.                     ¶ 7(25)
       Johnson, James R. and Matthew        ¶ 7(27)
       Lewis, Michael J.                    ¶ 7(32)
       Liken, James                         ¶ 7(33)
       Orttech Ltd.                         ¶ 7(40)
       Pietandrea, Robert A.                ¶ 7(41)
       Restivo, James and Gail              ¶ 7(42)
       Triad Investments, Inc.              ¶ 7(52)
       The Gregory S. Zenczak Family ¶ 7(58)
       Dynasty Trust
       The Stephen J. Zenczak Family ¶ 7(59)
       Dynasty Trust


      Plaintiffs Who Received Pirchesky’s Solicitation Materials:

       Plaintiff                            Complaint
       Aloe, David                          ¶ 7(3)
       Lueth, Randy                         ¶ 7(34)




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                                             TABLE 3
                                        Non-Broker Plaintiffs


      Plaintiffs Who Did Not Purchase Securities from the Boustead Defendants:

       Plaintiff                         Complaint Complaint
                                            ¶7       ¶ 41
       Austin, Clement R.                ¶ 7(6)         ¶41(6)
       B5S, LLC                          ¶ 7(7)         ¶ 41(7)
       Benter, William                   ¶ 7(8)         ¶ 41(8)
       Berglund, Richard                 ¶ 7(9)         ¶ 41(9)
       Cindrich, Ronald                  ¶ 7(11)        ¶ 41(11)
       Clariot New Albany                ¶ 7(12)        ¶ 41(12)
       Cowen OJ Investment, LLC          ¶ 7(16)        ¶ 41(16)
       DelMetro, Inc.                    ¶ 7(17)        ¶ 41(17)
       Denove, Robert                    ¶ 7(18)        ¶ 41(19)*
       Diehl, Corina                     ¶ 7(19)        ¶ 41(19)
       Einhorn, Stephen                  ¶ 7(20)        ¶ 41(20)
       The Harding-Brown         Family ¶ 7(23)         ¶ 41(23)
       Trust
       Hoeksema, Timothy                 ¶ 7(24)        ¶ 41(24)
       Joerres, Jeffrey                  ¶ 7(26)        ¶ 41(26)
       Kern, Scott                       ¶ 7(29)        ¶ 41(29)
       Kronk, Keith                      ¶ 7(30)        ¶ 41(30)
       Kuester, Dennis J.                ¶ 7(31)        ¶ 41(31)
       Matter, David                     ¶ 7(35)        ¶ 41(35)
       McCrory, Kenneth C.               ¶ 7(36)        ¶ 41(36)
       Nahra, M.D., Mitchell Elias       ¶ 7(37)        ¶ 41(37)
       Nasgovitz, William                ¶ 7(38)        ¶ 41(38)
       North Star Coal Co. Non- ¶ 7(39)                 ¶ 41(39)
       Bargaining Employees Profit
       Sharing Plan
       Rosen, Susan                      ¶ 7(43)        ¶ 41(43)
       Sacco, James V.                   ¶ 7(44)        ¶ 41(44)
       Sarris, William                   ¶ 7(45)        ¶ 41(45)
        th
       7 Street Properties, LP           ¶ 7(46)        ¶ 41(46)


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       Sheertex Fabrics, LLC          ¶ 7(47)        ¶ 41(47)
       Shilling, Jack W.              ¶ 7(48)        ¶ 41(48)
       Smith, Steven G.               ¶ 7(49)        ¶ 41(49)
       David Tesone Group, Inc.       ¶ 7(50)        ¶ 41(50)
       Thomas, Derek J.               ¶ 7(51)        ¶41(51)
       The Christian Luke Ronald ¶ 7(53)             ¶41(53)
       Vadas 2016 Trust
       The Simon Isaac Young Vadas ¶ 7(54)           ¶ 41(54)
       2016 Trust
       Viking Reinsurance Company     ¶ 7(55)        ¶ 41(55)
       Whitaker, Jerry R.             ¶ 7(56)        ¶ 41(56)
       White, Michael H.              ¶ 7(57)        ¶ 41(57)




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                                           TABLE 4
                                       Rule 9(b) Plaintiffs



       Plaintiff                        Complaint
       Austin, Clement R.               ¶ 41(6)
       Benter, William                   ¶ 41(8)
       Cindrich, Ronald                 ¶ 41(11)
       DelMetro, Inc.                    ¶ 41(17)
       Diehl, Corina                     ¶ 41(19)
       Lewis, Michael J.                ¶ 41(32)
       North Star Coal Co. Non- ¶ 41(39)
       Bargaining Employees Profit
       Sharing Plan
       Sarris, William                   ¶ 41(45)
       Sheertex Fabrics, LLC             ¶ 41(47)
       Smith, Steven G.                  ¶ 41(49)
       David Tesone Group, Inc.          ¶ 41(50)




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                                            TABLE 5
                                          Lewis Plaintiffs


       Plaintiff                          Complaint
       B5S, LLC                           ¶ 41(7)
       Nahra, M.D., Mitchell Elias         ¶ 41(37)
       Sacco, James V.                    ¶ 41(44)
       The Christian Luke       Ronald ¶ 41(53)
       Vadas 2016 Trust
       The Simon Isaac Young Vadas ¶ 41(54)
       2016 Trust




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